Case 5:12-cv-00175-gwc Document 54-5 Filed 08/22/13 Page 1 of 6

UNITED STATES DISTRICT COURT

FOR THE
DISTRICT OF VERMONT
THERSIA J. KNAPIK
PLAINTIFF CASE NO. 5:12-cev-175

MARY HITCHCOCK MEMORIAL

HOSPITAL

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|
Vv. |
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DEFENDANT

PLAINTIFF’S SECOND SUPPLEMENTAL RESPONSES TO DEFENDANT'S

FIRST SET OF INTERROGATORIES

Plaintiff supplements and/or corrects her previous responses to Defendant Mary
Hitchcock Memorial Hospital’s First Set of Interrogatories Propounded to Plaintiff Thersia
J. Knapik as follows:

i. Please state the following:
A. your full name, and all other names by which you have been known;
Response: Thersia Jeane Knapik, family called me Terrie.
B. your date and place of birth;
Response: 3/18/1967. Moscow, Idaho.
C. your present address;
Response: Temporary residence until lease of Vermont residence expires:
Lebanon, New Hampshire. I am also currently house sitting for
a friend in Cary, North Carolina.
D. your marital status; and
Response: Single.
E. all e-mail addresses you have used from January 1, 2011 to the present.

Watts Law Firm PC, PO Box 270, Woodstock, VT 05091
Tel: (802) 457-1020 Fax: (802) 432-1074 Email: wattslawfirmpc@gmail.com Page 1of 6
Case 5:12-cv-00175-gwc Document 54-5 Filed 08/22/13 Page 2 of 6

Response: Objection by counsel, the relevance of email accounts other than
the Dartmouth email account is questionable. Without waiving the objection,
Dartmouth email account until 6/12; otherwise, fleeder@yahoo.com. I also
use an email account for communication with my attorney,
thrsjeane@yahoo.com . It is also possible that I may have opened (an)
additional account(s) for receiving junk mail type messages during this time
period, but I do not recall specifics.

 

I turned over my electronic communication devices to an independent
certified forensic electronic firm. The firm preserved the contents. I will
produce the record under separate cover and the firm will search the contents
for relevant information. If relevant information is discovered it will be
produced.

2. Please provide the names and addresses of any and all physicians, psychiatrists,
psychologists, therapists, and other medical or mental health providers who have treated
you from 2007 to the present.

Response: Objection by counsel. In that plaintiff has not filed a emotional
distress claim placing plaintiff's emotional status in question, the requested
information is not reasonably calculated to lead to discovery of relevant
information. Without waiving the objection, my therapist, Terrie Baker,
MSW, LCSW.

5. If your answer to the preceding interrogatory is in the affirmative, please:
A. Identify by name, occupation, current address and telephone number, each
and every person with whom you had each said consultation and/or
discussion;

Response: Objection by counsel. The request is highly cumbersome and not
reasonably calculated to lead to discovery of relevant or admissible
information. Without waiving, I discussed a physician’s ethical obligations
with my therapist, Terrie Baker, MSW, LCSW.

B. State the date of each said consultation and/or discussion;

Response: Objection by counsel. The request seeks information protected by
patient-provider confidentiality.

C. Describe each said consultation and/or discussion in detail, indicating who
said what to whom in the order in which it was said; and

Response: Objection by counsel. The request seeks information protected by
patient-provider confidentiality.

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Case 5:12-cv-00175-gwc Document 54-5 Filed 08/22/13 Page 3 of 6

Ds Please identify and attach to your answers to these interrogatories all
documents which you allege support your answer to this interrogatory or to
which you referred in preparing your answer.

Response: Not applicable.

7. If your answer to the preceding interrogatory is in the affirmative, please:

A. Identify by name, occupation, current address and telephone number, each
and every person with whom you had each said consultation and/or discussion;

Response: Objection by counsel. The request is highly cumbersome and not
reasonably calculated to lead to discovery of relevant or admissible
information. In addition, the terms “consulted and/or discussed” are
ambiguous and not defined and any communications between myself and
counsel are protected by attorney-client privilege. Without waiving, I
discussed a physician’s ethical obligations with counsel. I discussed with
Richard B. Freeman, Jr., MD and Kerry Ryan during our June 6, 2012 meeting.
I also explained the events of my termination, including the reason I reported
Dr. Davis’ unethical behavior in communications with Seth Thaller, MD, Chair
of Plastic & Reconstructive Surgery, Jackson Memorial Hospital during a
telephone call on June 13, 2012. See also copies of documents previously
produced addressed to: Barbara Jalbert-Gerkens, American Board of Surgery,
Richard K. Parrish, MD, Jackson Memorial Hospital, University of California,
Irvine and the New Hampshire Board of Medicine.

B. State the date of each said consultation and/or discussion;
Response: Please see previous response.

C. Describe each said consultation and/or discussion in detail, indicating who
said what to whom in the order in which it was said; and

Response: Please see response 7A above.
D. Please identify and attach to your answers to these interrogatories all
documents which you allege support your answer to this interrogatory or
to which you referred in preparing your answer.
Response: Please see documents produced with initial disclosures.

9. If your answer to the preceding interrogatory is in the affirmative, please:

A. Identify by name, occupation, current address and telephone number, each

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Case 5:12-cv-00175-gwc Document 54-5 Filed 08/22/13 Page 4 of 6

and every person with whom you had each said consultation and/or discussion;

Response: Objection by counsel. The request is highly cumbersome and not
reasonably calculated to lead to discovery of relevant or admissible
information. The request also seeks information protected by patient-
provider privilege. Without waiving, I discussed the entire issue concerning
my ethical obligations with my therapist. I do not recall if we specifically
discussed the relationship between professional ethics and institutional
policies.

B. State the date of each said consultation and/or discussion;
Response: Please see previous response.

C. Describe each said consultation and/or discussion in detail, indicating who
said what to whom in the order in which it was said; and

Response: Please see previous response.

D. Please identify and attach to your answers to these interrogatories all
documents which you allege support your answer to this interrogatory or to
which you referred in preparing your answer.

Response: Not applicable.
11. If your answer to the preceding interrogatory is in the affirmative, please:

A. Identify by name, occupation, current address and telephone number, each
and every person with whom you had each said consultation and/or discussion;

Response: Objection by counsel. The request is highly cumbersome and not
reasonably calculated to lead to discovery of relevant or admissible
information. Without waiving, I discussed a physician’s ethical obligations
control over institutional policies with counsel.

B. State the date of each said consultation and/or discussion;

Response: Objection by counsel. The request seeks information protected by
attorney-client privilege.

C. Describe each said consultation and/or discussion in detail, indicating who
said what to whom in the order in which it was said; and

Response: Objection by counsel. The request seeks information protected by
attorney-client privilege.

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Case 5:12-cv-00175-gwc Document 54-5 Filed 08/22/13 Page 5 of 6

D. Please identify and attach to your answers to these interrogatories all
documents which you allege support your answer to this interrogatory or
to which you referred in preparing your answer.

Response: Please see previous response and documents previously produced
with initial disclosures.

12. Please execute the attached authorizations for release of any and all records
maintained by any person identified in your answer to Interrogatories 2 and 4 through 11
above.

Response: Not applicable.

14. If you claim lost earnings or earning capacity as a result of defendant's actions,
please specify the total lost wages claimed and the amount claimed for loss of earning
capacity, including the basis upon which you make any such claim.

Response: Please refer to report of Robert Bancroft, PhD.

15. | Have you opened, used, or maintained a Facebook account since January 1, 2011?
If so, please identify the user name and e-mail address for any Facebook account opened,
used, or maintained by you from January 1, 2011 through the present.

Response: Objection by counsel: Responding to the interrogatory is unduly
burdensome under FRCP 26(b)(2)(B). Plaintiff is not required to provide
discovery of electronically stored information from sources that the party
identifies as not reasonably accessible because of undue burden or cost. The
requested information is not reasonably accessible because of undue burden
or cost. Without waiving, at some point in the past I did have a Facebook
account but I do not recall the caption, title or user name.

I turned over my electronic communication devices to an
independent certified forensic electronic firm. The firm preserved the
contents. I will produce the record under separate cover and the firm will
search the contents for relevant information. If relevant information is
discovered it will be produced.

16. | Have you opened, used, or maintained any other social or professional networking
accounts (including, but not limited to, Google+, MySpace, Twitter, LinkedIn)? Ifso, please
identify the user name and e-mail address for all such accounts.

Response: Objection by counsel: Responding to the interrogatory is unduly
burdensome under FRCP 26(b)(2)(B). Plaintiff is not required to provide
discovery of electronically stored information from sources that the party

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Case 5:12-cv-00175-gwc Document 54-5 Filed 08/22/13 Page 6 of 6

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requested information is nol reasonably aceessible because of undue burden
or cost. Without waiving the objecting, al some point in the past I did have a
LinkedIn account but I do not recall the caption, title or user name.

T turned over my electronic communication devices to an
independent certified forensic electronic Grm. The firm preserved the
conlenis., [ will produce the record under separate cover and the firm will
search the contenis for relevant information. If relevant information is

discovered it will be produced.
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DATED: %) 70 | | 4 .
THERSIA J. KNASTK, MB

PLALS TLFF
STATE of Aben Corvcat
COUNTY of |fauc

Personally appeared before me, on this 23 day of
2013, the abuve-named Thersia J. Knapik, and acknowledged, swore and
affirmed, under oath, thal herein are irwe io the best of her
knowledge and belief. ne Mize

  

 

  
 
 

 

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As to Objections: | —
DATED:_2 [zz (2, LAW OMS
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